974 F.2d 1333
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Irvin Lee WILSON, Petitioner-Appellant,v.Eugene M. NUTH;  J. Joseph Curran, Jr., Respondents-Appellees.
    No. 92-6315.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 1, 1992Decided:  September 2, 1992
    
      Irvin Lee Wilson, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Sarah Elizabeth Page, OFFICE OF THE ATTORNEY GENERAL, Baltimore, Maryland, for Appellees.
      Before RUSSELL, WILKINSON, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Irvin Lee Wilson appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wilson v. Nuth, No. CA-90-1952 (D. Md. Dec. 31, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    